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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                              )
UNITED STATES OF AMERICA                      )
                                              )
      v.                                      )        No. 14-CR-10363-RGS
                                              )
BARRY CADDEN, et al.                          )
                                              )
                      Defendants.             )
                                              )

                        DEFENDANTS’ JOINT TRIAL MEMORANDUM

       In its Order Setting Criminal Case for Jury Trial, dated July 31, 2018, the Court ordered

the filing of “a trial memorandum addressing those matters as to which there are foreseeable

disputes concerning issues of law.”

       Defendants have identified to this Court all matters for which they currently foresee

disputes of law, in the form of the Motions in Limine, Motions to Compel and Requests for Jury

Instructions, filed previously.

Motions in Limine, Motions to Compel and Requests for Jury Instructions

 •         Docket      Motion in Limine to Prohibit Vicarious Liability Argument by the
           No. 1563    Government as to Kathy S. Chin
 •         Docket      Motion in Limine to Exclude Evidence of Uncharged Shipments as to
           No. 1564    Kathy S. Chin
 •         Docket      Motion in Limine to Exclude Evidence of Other Alleged Wrongdoing as to
           No. 1565    Kathy S. Chin
 •         Docket      Defendants’ Motion for an Advance Proffer, Hearing, and Ruling on
           Nos.        the Admissibility of Statements and Conduct by Alleged
           1567-       Coconspirators and Memorandum in Support1
           1568


       1
        Defendants suggest that the Court may wish to address the pleadings printed in bold, as
temporal priorities.
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•   Docket     Supplemental Motion in Limine Regarding Evidence of Patient Harm
    No. 1571   Relating to Methylprednisolone Acetate
•   Docket     Motion in Limine to Exclude NECC WatchList Emails as to Kathy S. Chin
    No. 1575
•   Docket     Proposed Jury Instructions by Kathy S. Chin
    No. 1578
•   Docket     Sealed Motion in Limine to Exclude References to Proposed Government
    No. 1580   Exhibit 575 and Related Issues
•   Docket     Defendants’ Motion in Limine to Exclude Any Mention of the Recycling
    No. 1581   Business Adjacent to NECC
•   Docket     Gregory Conigliaro’s Motion in Limine to Exclude Evidence of
    No. 1582   Communications with Various State Boards of Pharmacy
•   Docket     Defendants’ Motion in Limine to Exclude Evidence of Non-Sterile Testing
    No. 1584   Results
•   Docket     Defendant Gene Svirskiy’s Joinder in Defendant Kathy S. Chin’s Motion
    No. 1585   in Limine to Exclude Evidence of Uncharged Shipments
•   Docket     Defendants Gene Svirskiy’s and Christopher Leary’s Motion in Limine to
    No. 1586   Preclude the Government from Referring to Methotrexate Being Used to
               Treat Pediatric Cancer Patients
•   Docket     Motion to Compel Defendant-identified Exhibit List
    No. 1589
•   Docket     Motion in Limine to Exclude Misleading References to USP Provisions on
    No. 1591   Remediation for Contamination of Surface Samples
•   Docket     Motion to Compel Expert Witness Disclosures
    No. 1592
•   Docket     Motion to Exclude Case-Agent Testimony Regarding the Investigation
    No. 1593
•   Docket     Motion to Exclude Post-Contaminated Shipment/Recall Efforts
    No. 1594
•   Docket     Defendant Gene Svirskiy’s Motion in Limine to Exclude All References to
    No. 1595   His Marriage to Inna Svirskiy
•   Docket     Motion in Limine to Exclude Misleading References to Pharmacy
    No. 1596   Technician “License” or “Licensing” in Massachusetts


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 •         Docket     Remaining Defendant’s Request for Jury Instructions2
           No. 1597
 •         Docket     Defendant Gene Svirskiy’s Motion in Limine to Exclude Evidence of
           No. 1598   Lorazepam Allegedly Filled into Vials at NECC
 •         Docket     Motion to Exclude Improper Summary Exhibits
           No. 1600
 •         Docket     Motion in Limine to Exclude Exhibits Regarding Erroneous Test Result of
           No. 1602   Mannitol on August 29, 2012
 •         Docket     Defendants’ Motion in Limine Regarding Objectionable Trial
           No. 1603   Practices by the Government
 •         Docket     Defendants’ Motion to Adopt and Reissue Certain in Limine Rulings from
           No. 1604   the Cadden and Chin Trials
 •         Docket     Defendants’ Motion in Limine to Exclude Government Exhibit 129 –
           No. 1609   Excerpts of Sales and Training Videos
 •         Docket     Motion for Joinder in Defendant Kathy Chin’s Motion in Limine re
           No. 1610   Uncharged Shipments

Jury Questionnaire and Neutral Case Summary

       Additional legal issues may be presented by Remaining Defendants’ Proposed Jury

Questionnaire and Neutral Case Summary (Docket No. 1599).

       Defendants also maintain their legal positions on matters raised in previously filed

Motions to Dismiss, and reserve the right to readdress those issues when appropriate. All

mentioned documents are included herein by reference.

       For purposes of evidentiary objections made by one or more Defendants, whether made

orally, at trial, or in writing, via a motion in limine, Defendants respectfully request that an

objection by one be deemed an objection by all.


       2
        These requested instructions are largely based on those given in the Barry Cadden and
Greg Chin trials. For clarity and ease of reference, Defendants have attempted to highlight in the
proposed instructions where they may substantively differ from the Cadden/Chin instructions.

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                                    Respectfully submitted,

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Date: September 18, 2018

                                 CERTIFICATE OF SERVICE
      I certify that a copy of the foregoing pleading was filed on September 18, 2018 via the
ECF system, and was sent electronically on that date to the parties’ counsel of record.

                                             /s/ John H. Cunha Jr.
                                            John H. Cunha Jr.




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